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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                               HAMMOND DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
              Plaintiff,                      )
                                              )       Cause No. 2:17-CR-47-PPS-APR
       v.                                     )
                                              )
DUJUANA DUBOSE,                               )
                                              )
              Defendant.                      )

                                         ORDER

        This matter is before me on the findings and recommendation of Magistrate Judge

Andrew P. Rodovich [DE 1231] relating to defendant’s revocation of supervised release

and the parties’ stipulation. [DE 1185.] Following a hearing on the record on November

10, 2021 [DE 1230], Judge Rodovich advised the defendant of the allegations in the petition

and range of penalties and his right to a hearing before me. Judge Rodovich recommends

that the Court accept the Agreed Disposition [DE 1185], that the defendant be sentenced to

a term of 14 months, that defendant be given credit for 770 days served (over 25 months),

that no period of supervised release be imposed, and the remaining allegations in the

Petition be dismissed. Both parties have waived their objections to Judge Rodovich’s

findings and recommendation.

       ACCORDINGLY:

       Having reviewed the Magistrate Judge’s findings and recommendation concerning

Defendant Dujuana Dubose’s revocation of supervised release, to which any objection has

been waived, the Court hereby ADOPTS the findings and recommendation [DE 1231] in

their entirety.
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      Defendant Dujuana Dubose is ORDERED to be promptly released from custody,

time served.

      SO ORDERED.

      ENTERED on November 10, 2021.

                                          /s/ Philip P. Simon
                                          PHILIP P. SIMON, JUDGE
                                          UNITED STATES DISTRICT COURT
